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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JOHN HANCOCK LIFE INSURANCE                         )
COMPANY (U.S.A.) f/k/a Manufacturers                )
Life Insurance Company,                             )
                                                    )
                             Plaintiff,             )
                                                    )
        v.                                          )      Case No.: 4:18-cv-02869
                                                    )
THE ESTATE OF JENNIFER LAUREN                       )
WHEATLEY, et al.,                                   )
                                                    )
                             Defendants.            )

ORDER GRANTING PLAINTIFF’S CONSENT MOTION FOR EXTENSION OF TIME
     TO SUBMIT BRIEFS AND RELEVANT EXHIBITS TO JUNE 24, 2020

        CAME ON FOR CONSIDERATION in the above-styled and numbered case Defendant,

The Estate of Jennifer Lauren Wheatley’s and Louis Anthony Wheatley Administrator of the

Estate of Jennifer Lauren Wheatley, Deceased, and the parties shall have until June 24, 2020 to

submit briefs and relevant exhibits. Having considered the Motion and any responses thereto, the

Court finds that the Motion has merit and, therefore, the Motion is GRANTED in its entirety. It

is therefore,

        ORDERED that parties may have an extension of time to submit briefs and relevant

exhibits.

                                                               ___________________________
                                                                         Hon. Keith P. Ellison
                                                                           U.S. District Judge




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